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  STATE OF MAINE                                          SUPERIOR COURT
  CUMBERLAND, ss.                                         CIVIL ACTION
                                                          DOCKET NO.


  DEBORAH COLELLO

                Plaintiff

  V.                                                      COMPLAINT

  BOTTOMLINE TECHNOLOGIES, INC.

                Defendant


         NOW COMES Plaintiff, by and through counsel, and alleges as follows:

                                        PARTIES

 1.      Plaintiff, Deborah Colello, is a resident of Yarmouth, County of Cumberland,

  and State of Maine.

  2.     Defendant Bottomline Technologies, Inc. is a corporation whose

  headquarters are in Portsmouth, New Hampshire and doing business in the City of

  South Portland, County of Cumberland and State of Maine.

                                        COUNT I

  3.     Plaintiff Deborah Colello was employed by Defendant Bottomline

  Technologies, Inc.

  4.     Plaintiff Deborah Colello was employed by Defendant Bottomline

  Technologies from June 2012 through March 27, 2014.

  5.     Plaintiff's work required her to communicate with customers handling

  problem solving requests.

  6.     Plaintiff did not supervise any employees.                                       Received for
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 7.     Plaintiff worked substantially in excess of forty hours each week.

 6.     Plaintiff did not receive any payment for overtime despite demand for that

 compensation.

 8.     Plaintiff was not exempt from overtime compensation.

 9.     Failure to pay overtime wages to employees who are non-exempt is a

 violation of law.

        WHEREFORE, Plaintiff prays that this Honorable Court award her judgment

 in an amount necessary to compensate her for lost wages at the overtime rates of

 time and one-half plus a penalty of an amount equal to that payment, interest, costs,

 attorney fees and other such relief as the Court deems just and proper.

        DATED at Portland, Maine this ,26116y of June, 2014.

                                                   Respectfully submitted,




                                                   Howard T. Reben, Bar #426
                                                   Attorney for Plaintiff

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